                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                      3:21-cv-395

UNITED STATES OF AMERICA                       )
                                               )
                                               )
            v.                                 )
                                               )            DEFAULT JUDGMENT
APPROXIMATELY $37,820 IN UNITED                )
STATES CURRENCY SEIZED FROM                    )
DANA TYRONE SCARBOROUGH ON                     )
                                               )
MARCH 22, 2021 AT THE                          )
CHARLOTTE-DOUGLAS                              )
INTERNATIONAL AIRPORT                          )



        THIS MATTER is before the Court on the United States of America’s Motion for Default

Judgment in this case. (#8) For good cause shown, the Court will GRANT the Motion and enter

this Default Judgment. The Court FINDS AS FOLLOWS:

                                           BACKGROUND

        On August 2, 2021, the Government filed a Complaint for Forfeiture In Rem (Doc. 1)

against the defendant property captioned above. The Complaint alleged that the property

constituted money furnished or intended to be furnished by any person in exchange for a controlled

substance or listed chemical in violation of 21 U.S.C. § §841 and/or 843 and was therefore subject

to forfeiture.

        From August 4, 2021 through September 2, 2021, pursuant to Federal Rules of Civil

Procedure, Supplement Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,

Rule G(4)(a), the Government provided Notice by Publication (Doc. 5) of this action. Further, the

Government mailed direct notice (Doc. 4) of the Complaint to the following individuals:

                Dana Tyrone Scarborough
                Leslie M. Sammis, Esq., Counsel for Claimant



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                      Notice of the forfeiture of the currency has been properly published and directly provided,

              there are no claims as to the property, and the time for filing claims has expired. Therefore, on

              October 7, 2021, on Motion (Doc. 6) of the Government, the Clerk of Court entered default

              pursuant to Fed. R. Civ. P. 55(a) (Doc. 7). Thus, default judgment is now appropriate.

                                                      LEGAL CONCLUSIONS

                      Fed. R. Civ. P. 55 (b)(2) provides for entry of the requested Default Judgment by the Court.

              Here, the United States has provided notice of forfeiture in accordance with the Federal Rules of

              Civil Procedure, Supplement Rules for Admiralty or Maritime Claims and Asset Forfeiture

              Actions, Rule G. No individuals or entities have filed claims and the time period for filing claims

              has expired. Finally, the Clerk has entered default. Therefore, the requested Default Judgment is

              appropriate.

                      BASED ON THE FOREGOING FINDINGS, THE COURT CONCLUDES that the

              Government is entitled to a Judgment of by Default against the Defendant Property.

                      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

                      1. The Government’s Motion for Default Judgment (#8) is hereby GRANTED.

                      2. Any and all right, title, and interest of all persons in the world in or to the following

                            Defendant Property is hereby forfeited to the United Sates, and no other right, title, or

                            interest shall exist therein:   Approximately $37,820 in United States Currency

                            Seized from Dana Tyrone Scarborough on March 22, 2021 at the Charlotte-

                            Douglas International Airport.


Signed: November 24, 2021




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